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                        In the United States District Court
                       for the Southern District of Georgia
                                 Waycross Division
JEFFREY GRAY,
       Plaintiff,                                 )
                                                  )
       v.                                         )                 4:23-cv-00197-WTM-CLR
                                                  )
ROBERT HEMMINGER,                                 )
    Defendant.                                    )


                               DISCLOSURE STATEMENT
                             OF PARTIES AND INTERVENORS

In accordance with Federal Rule of Civil Procedure 7.1 and Local Rule 7.1.1, I hereby certify:

   1) I am counsel for the following parties and intervenors:

                    NAME                                          PARTY DESIGNATION
 Jeffrey Gray                                         Plaintiff




   2) This is a full and complete list of officers, directors, and trustees of the above-identified
      parties and intervenors:

                    NAME                                                TITLE




   3) This is a full and complete list of all other persons, associations of persons, firms,
      partnerships, subsidiaries and parent corporations, and organizations which have a
      financial interest in, or another interest which could be substantially affected by, the
      outcome of this case, including any parent or publicly-held corporation that holds ten
      percent (10%) or more of a party’s stock (if no such individual or entity, state NONE):

                    NAME                                          TITLE/RELATIONSHIP


                                                                                                      1
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 Foundation for Individual Rights and            Nonprofit organization representing Plaintiff
 Expression, Inc.
 First Amendment Clinic at the University of     Clinic representing Plaintiff
 Georgia School of Law




   4) If jurisdiction is based on diversity of citizenship, counsel must also provide the
      following disclosure. This is a full and complete list of every individual or entity whose
      citizenship is attributable to a party or intervenor:

               NAME                        RELATIONSHIP                       CITIZENSHIP
 N/A                                N/A                                 N/A




7/17/2023                                          /s/Clare Norins
Date                                               Signature of Attorney of Record

                                                   Clare Norins
                                                   Printed Name




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